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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA

                                                            )
  IN RE BAYCOL PRODS. LITIG.                                ) MDL No. 1431 (MJD/SRN)
                                                            )
  This Document Relates to:                                 )
                                                            )
  United States ex rel. Simpson v. Bayer Healthcare,        )
  et al., MDL Case No. 0:08-cv-5758                         )


                                [PROPOSED] ORDER

COMES NOW, Relator Laurie Simpson, by her undersigned counsel, and Defendants

Bayer Corporation, Bayer AG, and Bayer AG Healthcare Pharmaceuticals, Inc.

(collectively, “Bayer”), by their undersigned counsel, on motion to establish revised

schedule, and good cause appearing, it is hereby ORDERED as follows:

The Court ORDERS the following schedule:

 Event                                                       Deadline

  Deadline for Parties to file Rule 26(f) Report, Rule 16      January 9, 2019
  Worksheet, and Confidential Settlement Statement:
  Status Conference:                                           January 16, 2019
                                                               (or date thereafter
                                                               TBD by Court)



IT IS SO ORDERED.

Dated: December ___, 2018                              _______________________
                                                       Hon. Steven E. Rau
                                                       United States Magistrate Judge
